Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 1 of 7 PageID #: 1032




                                                                 App. Tab
                                                                            exhibitsticker.com




                                                                     I
Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 2 of 7 PageID #: 1033
Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 3 of 7 PageID #: 1034
Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 4 of 7 PageID #: 1035
Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 5 of 7 PageID #: 1036
Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 6 of 7 PageID #: 1037
Case 4:17-cv-04123-LLP Document 47-10 Filed 08/03/18 Page 7 of 7 PageID #: 1038
